                       Case 3:18-mc-01037                    Document 1       Filed 11/27/18           Page 1 of 21

AO 106 (Rev. 04/10) Application for a Search Warrant



                                       UNITED STATES DISTRICT COURT
                                                                    for the
                                                                                                 FILED27 NOV 1810:321.!SilC-ORP
                                                                                                                7




                                                              District of Oregon

              In the Matter of the Search of                           )
         (Briefly describe the property to be searched
                                                                                                18-/nC.- /CA3';~
                                                                       )
          or identify the person by name and address)                              Case No . ..a.16-Md 244=1 IZ       O
                                                                       )                                                  -

   Ford Country Squire, as described in Attachment A                   )
                                                                       )
                                                                       )

                                              APPLICATION FOR A SEARCH WARRANT
        I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
prpp,ertv to be searched arid give its locftion):        "                     .      .
  mrormat1on assoc1atecrw1tn          lllS   onnne storage accounts) as described m Attachment A hereto,.


located in the _ _ _ _ _ _ _ _ District of _ _ _ _ _O_r_e~go_n_ _ _ _ _ , there is now concealed (identify the
person or describe the property to be seized):
 The information and items set forth in Attachment B hereto.


          The basis for the search under Fed. R. Crim. P. 4l(c) is (check one or more):
               rf evidence of a crime;                                             ·
                 rf contraband, fruits of crime, or other items illegally possessed;
                 ~ property designed for use, intended for use, or used in committing a crime;
                 0 a person to be arrested or a person who is unlawfully restrained.

          The search is related to a violation of:
            Code Section                                                  Offense Description
        (TITLE(S) & SECTION(S))                     (GENERAL DESCRIPTION OF OFFENSE(S))

        18 U.S.C. §2113(a)                          Bank Robbery
         The application is based on these facts:
        See affidavit which is attached hereto and incorporated herein by this reference.


           rf   Continued on the attached sheet.
           0 Delayed notice of        days (give exact ending date if more than 30 days: _ _ _ _ _ ) is requested
             under 18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.


                                                                           oUA;ca.,.&:.u:o                                    7
                                                                              David J. Hockin, Detective/FBI Task Force Officer
                                                                                            ~   Printed name and title

Sworn to before me and signed in my presence.


Date:     //.    0(   1.     /8
                                                                                                  Judge's signature

City and state: Portland, Oregon                                                          V. Acosta, United States Magistrate Judge
                                                                                                Printed name and title
            Case 3:18-mc-01037        Document 1        Filed 11/27/18      Page 2 of 21




DISTRICT OF OREGON, ss:               AFFIDAVIT OF DAVID J. HOCKIN
                                      STATE OF OREGON

                             Affidavit in Support of an Application
                             Under Rule 41 for a Search Warrant

       I, David J. Hockin, being duly sworn, do hereby depose and state as follows:

                          Introduction and Agent Background

       L       I, David J. Hockin, am employed with the Tigard Police Department as a police

officer and have been since 1998. My current assignment is that of a detective within the Tigard

Police Department's Criminal Investigations Unit. I have also been assigned to the Washington

County Major Crimes Team since 2006, and have been a Task Force Officer (TFO) with the

Federal Bureau of Investigation (FBI) bank robbery task force since 2010. My training and

experience includes the investigation of violent crimes, to include; homicides, seriou~ assaults,

robberies, sex assaults and bank robberies.

       2.      I submit this affidavit in support of an application under Rule 41 of the Federal

Rules of Criminal Procedure for a warrant to search the vehicle described as a 1998 Ford Country

Squire, bearing Oregon License Plate YEC242, VIN: 2FABP79F7JX216103, referenced

hereinafter as "Vehicle", as described in Attachment A hereto, for evidence, contraband, fruits,

and instrumentalities of violations of Bank Robbery, 18 U.S.C. § 2113(a). As set forth below, I

have probable cause to believe that such property and items, as described in Attachment B hereto,

including any digital devices or electronic storage media, are currently located in the

aforementioned vehicle, which is currently parked at, 13749 SW Electric Street, Beaverton,

Washington County, Oregon 97005.

       3.      This affidavit is intended to show only that there is sufficient probable cause for the

requested warrant and does not set forth all of my knowledge about this matter. The facts set forth
            Case 3:18-mc-01037        Document 1       Filed 11/27/18      Page 3 of 21




in this affidavit are based on my own personal knowledge, knowledge obtained from other

individuals during my participation in this investigation, including other law enforcement officers,

interviews of witnesses, a review of records related to this investigation, communications with

others who have knowledge of the events and circumstances described herein, and information

gained through my training and experience.



                                            Applicable Law

       4.      Under 18 U.S.C. § 2113(a), a Bank Robbery occurs when a person, "by force and

violence, or intimidation, knowingly and unlawfully take currency from the presence of

employees of the financial institution which was then in the care, custody, control, possession, and

management of that financial institution, whose deposits were then insured by the Federal Deposit

Insurance Corporation." 18 U.S.C. § 2113(a).

                                  Statement of Probable Cause

       5.      On November 13, 2018, at approximately 2:19 pm, a robbery occurred at the Key

Bank located at 11665 SW Pacific Highway, Tigard, Washington County, Oregon. The bank,

whose deposits were then insured by the Federal Deposit Insurance Corporation (FDIC), suffered

a loss of approximately $1,636 in United States Currency.

       6.      On November 20, 2018, I was the affiant on a complaint and application for an

arrest warrant alleging that Steven Richard Cole violated 18 U.S.C. § 2113(a), Unarmed bank

Robbery. On that same date, Magistrate Judge John V. Acosta signed approved and signed the

complaint, and issued an arrest warrant for Cole.



Page 2 .:. . Affidavit of David J. Hockin                        USAO Version Rev. April 2017
            Case 3:18-mc-01037       Document 1        Filed 11/27/18     Page 4 of 21




       7.      On November 21, 2018, at about 3:00 pm I served the arrest warrant on Mr. Cole at

13749 SW Electric St., Beaverton, Washington County, Oregon 97005. Mr. Cole was taken into

custody, by myself, without incident. Mr. Cole gave no statement. While taking him into custody I

noted that he was wearing a black soft-shell jacket with a white North Face logo on the front left

breast, just as in the video surveillance footage from both KeyBank and Canyon Auto. The jacket

was later taken into evidence.

       8.      Immediately following the arrest, I located Mr. Cole's vehicle, a Ford Country

Squire, which had been parked near the manager's office within the apartment complex. While

standing next to the vehicle I could clearly see the inside of the vehicle through the windows,

without aid of a flashlight or any other device or aid. While looking through the rear passenger

side window I could clearly see the two pieces of paper and two pairs of dark-colored gloves on the

floorboard. The pi~ces of paper looked like the pieces Mr. Cole had ripped off of the night

deposit envelope that he had used to write the demand note. Both pairs of gloves were dark in

color and appeared to be very similar to the gloves Mr. Cole used during the robbery. I

photographed the mentioned items from outside the vehicle.

       9. I know, based on my training and experience, that individuals V\;ho own or possess

vehicles are required by law to retain proof of registration and insurance on the vehicle. I also

know that these documents are often kept in the glove box or in a location which allows the driver

to easily access them. I believe that documents such as these will help establish that Mr. Cole

owned or possessed the Ford Country Squire, which is the vehicle believed to have been used to

transport Mr. Cole to and from a location close to the bank robbery, as detained in Exhibit 1.



Page 3 - Affidavit of David J. Hockin                            USAO Version Rev. April 2017
            Case 3:18-mc-01037        Document 1        Filed 11/27/18      Page 5 of 21




                                            Conclusion

       9.      Based on the foregoing, I have probable cause to believe that evidence and

instrumentalities of the offens'e of Bank Robbery, as described above and in Attachment B, are

presently located within the vehicle, which is described above and in Attachment A. I therefore

request that the Court issue a warrant authorizing a search of the vehicle described in Attachment

A for the items listed in Attachment B and the seizure and examination of any such items found.

       10.     Prior to being submitted to the Court, this affidavit, the accompanying application,

and the requested search warrant were all reviewed by Assistant United States Attorney (AUSA)

Greg Nyhus and AUSA Nyhus advised me that in his opinion the affidavit and application are

legally and factually sufficient to establish probable cause to support the issuance of the requested

search warrant.



                                                      DAVID J. HOCKIN
                                                      Detective/FBI Task Force Officer

       Subscribed and sworn to before me this _ _ _ day of November 2018.



                                                      JOHN V. ACOSTA
                                                      United States Magistrate Judge




Page 4 - Affidavit of David J. Hockin                             USAO Version Rev. April 2017
Case 3:18-mc-01037   Document 1   Filed 11/27/18   Page 6 of 21




 EXHIBIT A
            Case 3:18-mc-01037       Document 1        Filed 11/27/18      Page 7 of 21




DISTRJCT OF OREGON, ss:               AFFIDAVIT OF DAVID J. HOCKIN
                                      STATE OF OREGON


              Affidavit in Support of a Criminal Complaint and Arrest Warrant

       I, David Hockin, being duly sworn, do hereby depose and state as follows:



                             Introduction and Agent Background:



       1.      I am a police officer with the Tigard Police Department and have been since

1998. As part of my duties, I am an investigator with the Washington County Major Crimes

Team. As part of that assignment, I am tasked with the investigation of violent crimes such as

homicides, robberies, and sex assaults. I am also designated as a Task Force Officer (TFO) with

the Federal Bureau of Investigation (FBI) bank robbery task force and have been designated as

such since 2011.

       2.      I submit this affidavit in support of a criminal complaint and arrest warrant for

STEVEN RJCHARD COLE, a white male with date of birth 05/27/1969, for Bank Robbery in

violation of 18 U.S.C. § 2113(a). As set forth below, there is probable cause to believe, and I do

believe, that STEVEN RJCHARD COLE committed Bank Robbery in violation of 18 U.S.C. §

2113(a).

       3.      This affidavit is intended to show only that there is sufficient probable cause for

the requested complaint and arrest warrant and does not set forth all of my knowledge about this

matter. The facts set forth in this affidavit are based on my own personal knowledge, knowledge

obtained from other individuals during my participation in this investigation, including other law

enforcement officers, interviews of witnesses, a review ofrecords related to this investigation,
            Case 3:18-mc-01037       Document 1        Filed 11/27/18     Page 8 of 21




communications with others who have knowledge of the events and circumstances described

herein, and information gained through my training and experience.

                                        Applicable Law:



       4.      Under 18 U.S.C. § 2113(a), a Bank Robbery occurs when a person, "by force and

violence, or intimidation, knowingly and unlawfully take currency from the presence of

employees of the financial institution which was then in the care, custody, control, possession,

and management of that financial institution, whose deposits were then insured by the Federal

Deposit Insurance Corporation." 18 U.S.C. § 2113(a).



                                 Statement of Probable Cause:

       5.      On 111318 at approximately 2:19 pm, a robbery occurred at the Key Bank located

at 11665 SW Pacific Highway, Tigard, Washington County, Oregon. The bank, whose deposits

were then insured by the Federal Deposit Insurance Corporation (FDIC), suffered a loss of

approximately $1,636 in United States Currency.



       6.      The victim teller reported to the Tigard Police that he was working at his teller

station when a person unknown to him, hereafter referred to as "the robber," entered the bank via

the front door. The robber approached the victim teller's station at the counter, and presented the

victim teller with a paper note that read, "Give me All your Money Don't set any alarm off."

The victim teller emptied two drawers, and provided the robber with approximately $1,636 in

United States currency. The robber then exited the front doors and fled, on foot.

Page 2-Affidavit of David Hockin                            USAO Version Rev. November 2018
            Case 3:18-mc-01037        Document 1       Filed 11/27/18      Page 9 of 21




       7.      The victim teller described the robber as a white male, in his 50's, with a slender

build, wearing a dark colored jacket, gloves and a baseball hat. The victim teller stated that the

robber had passed him a note and after presenting it, he repeated, "Come on, come on." After

receiving the money from the drawer the robber said, "the side drawer too .... come on."



       8.      The victim teller told me the robber intimidated him in that he approached his

teller station quickly and presented a demand note, which clearly indicated that he was robbing

him. Further, that.he stated, "Come on .... come on," in and aggressive demeanor. The robber

then ordered him to empty the side drawer, as ifhe was becoming angry about how long it was

taking or the amount of money he was retrieving. The victim teller stated that although no

weapon was seen, he knew from his training that he could still be armed or use force ifhe didn't

comply with his demands. The victim teller added that he feared the robber might rob and/or

harm the female teller next to him.



       9.      I received bank surveillance images of the robber. I reviewed the photos, and

concluded that the victim's description was accurate. I distributed the images to local law

enforcement, including the Federal Bureau of Investigation.



       10.     Upon viewing the demand note, I learned that it was hand-written in dark ink on a

ruled piece of white paper. The piece of paper was ripped on the top and bottom. Near the

bottom of the note, was a typed sentence that read, "I hereby authorize .... " The remainder of the



Page 3 - Affidavit of David Hockin .                        USAO Version Rev. November 2018
          Case 3:18-mc-01037        Document 1      Filed 11/27/18      Page 10 of 21




sentence was tom off. Based on the tearing and the type sentence it appeared that the paper used

for the demand note had been some type of form or an envelope with typing on it.



       11.    On 111418 I spoke to Nguyen Nguyen, the owner of Canyon Auto Repair, located

at 11643 SW Pacific Hwy., Tigard, OR 97223. Canyon Auto Repair is situated just east of the

Key Bank. I inquired about his video surveillance system and ask for consent to review the

footage. Mr. Nguyen agreed, and showed me surveillance footage from the prior day. I

observed the following from reviewing camera numbers 10 and 11:


Camera #10 (Facing·east):

1404:09       A tan and brown station wagon enters the lot from Hwy 99W Southbound and
              parks in the Canyon Auto parking lot                 ·
1407:40       A white male adult exits the driver side and approaches the shop while wearing
              gloves.
1408:00       Suspect removes his glove and takes a key drop envelope from the night drop box
              and returns to his car
1410:55       Suspect exits his car and pretends to deposit the envelope in the drop box while
              wearing gloves. Walks towards the Key Bank.
1413:30       Suspect returns from the bank and walks towards his car.
1413:44       Suspect enters driver side of his car
1413:57       Vehicle backs out of parking stall.
1414:08       Vehicle exits lot, without stopping, and proceeds south on Hwy. 99W.

Camera #11 (Facing West):

1411:05       Suspect is seen walking west towards the Key Bank and goes off camera.
1413:25       Suspect is seen walking east towards Canyon Auto.
1414:08       Suspect vehicle is seen traveling south on Hwy 99W.




Page 4 - Affidavit of David Hockin                        USAO Version Rev. November 2018
         Case 3:18-mc-01037          Document 1       Filed 11/27/18      Page 11 of 21




       12.     After reviewing the above-mentioned.video surveillance, I obtained a key deposit

envelope to compare to the demand note. Upon comparing the envelope to the note, it appeared

to me that the suspect had ripped off the top and bottom of the envelope and then used it to write

the demand note used in the robbery. I further noted that the envelope had a paragraph at the

bottom that read," I hereby authorize this repairing dealer to ....... " This was an exact match to

the partial sentence that remained on the bottom of the demand note.



       13.     On 111418 at about 3:11 pm Lynn Beaulieu, the Human Resources Director of

Eliot Management Group, called dispatch in response to a media release about the Tigard Key

Bank Robbery. I called Ms. Beaulieu at 3:30 pm. Ms. Beaulieu told me that Marcus Smith, an

Eliot employee, had contacted her regarding a media release he had seen regarding a bank

robbery in Tigard. Mr. Smith told her that the suspect looked like Steven Cole, who had been an

employee of Eliot up until 110118. Ms. Beaulieu provided me Mr. Coles date of birth (052769),

address (8545 SW Pfaffle St., #11, Portland, Oregon 97223), phone number (971-716-2323) and

drivers license number (4941532), according to her personpel files. Ms. Beaulieu added that she

further believed that the ha~ the suspect was wearing during the robbery was an "Eliot" logoed

hat that he likely obtained while working at Eliot Management Group in Lake Oswego (6

Centerpoint Drive, Suite 380, Lake Oswego, Oregon).



       14.     I compared the image of the bank robber to Oregon DMV photo of COLE, and

concluded the images appear to be of the same person. The images of the bank robber are

labeled Attachment A. The image of COLE's DMV photo is labeled Attachment B.

Page 5 - Affidavit of David Hockin                         USAO Version Rev. November 2018
         Case 3:18-mc-01037          Document 1       Filed 11/27/18      Page 12 of 21




       15.     I then contacted Gayla Christopher, who is employed as an analyst with the

Tigard Police Department. At my request, Analyst Christopher conducted a workup on Mr. Cole

and learned that his last known address, per the Department of Motor Vehicles (DMV), was at

8545 SW Pfaffle St., #11, Portland, Oregon 97223, as stated by Ms. Beaulieu. This address is

actually a Tigard address, approximately 3-4 blocks from the Key Bank in question. Analyst

Christopher further learned that Mr. Cole lived at that address with Richard Albert Cole (DOB:

072344). Obituary records indicated that Richard Albert Cole died in May of 2017. Analyst

Christopher queried LEDS for all vehicles registered to Steven Cole. There were none. She then

queried all vehicles registered to Richard Cole, and discovered that a 1988 Ford Country Squire,

4-door- station wagon was registered to him. The license plate listed for that particular vehicle

was, YEC242 (Oregon). I obtained photographs of a 1988 Ford Country Squire via Google and

Bing and noted that they looked identical to that of the vehicle seen in the surveillance video

from Canyon Auto.



       16.     On 111518 I called Ms. Beaulieu and inquired about the Eliot Management Group

hat logo, a handwriting sample, and emergency contacts for Mr. Cole. Ms. Beaulieu told me Mr.

Cole had an emergency contact by the name of James Kirshner. Mr. Kirshner's address was

listed as, 13749 SW Electric Street, Beaverton, OR 97005.




Page 6 - Affidavit of David Hockin                          USAO.Version Rev. November 2018
                 Case 3:18-mc-01037          Document 1       Filed 11/27/18      Page 13 of 21




                17.    I then drove to Mr. Kirshner's apartment (Courtyard Cedar Hills; 13749 SW

        Electric Street, Beaverton, OR 97005) in an effort to locate the Ford station wagon. I arrived at

        10:00 am and located the Ford parked in the front parking lot, unoccupied. I photographed the

        vehicle and noted the license plate (Oregon, YEC242), which matched the vehicle registered to

        Mr. Cole's relative (Richard Albert Cole).



               18.     Later that same day (111518), I received the requested handwriting samples and a

        photograph of an Eliot Management Group hat (attached) from Ms. Beaulieu. I compared the

        photo of the Eliot hat to a still photo printed from the Key Bank surveillance footage. It was an
\
    \
        exact match.   The image of the "Eliot" hat is labeled Attachment C. Upon reviewing

        Mr. Cole's handwriting samples, I noted that the handwriting was very similar to what was seen

        on the robbery note, and at a minimum, Mr. Cole could not be excluded as being the note writer.



               19.     On 111918 I spoke to Marcus A. Smith (DOB: 041775) in person. Mr. Smith

        told me he had been Steven Cole's direct supervisor at Eliot Management Group. Mr. Smith

        stated that 111318 he saw a media release regarding a Tigard bank robbery and that the photo of

        the suspect looked like Steven Cole, and further, that his hat looked like an Eliot logoed hat he

        had won at work recently. Mr. Smith told me that.on the following morning he compared the

        Eliot hat he had at work to the photo the media had released, and that it seemed to match

        perfectly. Mr. Smith notified human resources and then the police.




        Page 7 - Affidavit of David Hockin                          USAO Version Rev. November 2018
         Case 3:18-mc-01037          Document 1        Filed 11/27/18      Page 14 of 21




                                            Conclusion:



       20.     Based on the foregoing, I have probable cause to believe, and I do believe, that

STEVEN RICHARD COLE committed the federal crime of bank robbery in violation of 18

U.S.C. § 2113(a). I therefore request that the Court issue a criminal complaint and arrest warrant

for STEVEN RICHARD COLE.



       21.     Prior to being submitted to the Court, this affidavit, the accompanying

application, and the requested arrest warrant were all reviewed by Assistant United States

Attorney (AUSA) TO BE DETERMINED. AUSA TO BE DETERMINED advised me that in'

his opinion the affidavit and application are legally and factually sufficient to establish probable

cause to support the issuance of the requested criminal complaint and arrest warrant.




                                                      Detective/ FBI Task Force Officer




Page 8 - Affidavit of David Hockin                           USAO Version Rev. November 2018
           Case 3:18-mc-01037             Document 1          Filed 11/27/18         Page 15 of 21




                                               Attachment A:




   11/13/2018 '14 :19 :.50. 60
   6 TELLER 5            .· . .   .
   sur 'i.1ei.l 1atice
   OR009-TIGARD
   Tliis photpgi'aphic image is gen·era.tect for th¢ internal u.se o·f KeyBank. KeyBank iliakes ilo
   representation cir .warr:-anty pf ariy .kind with respect :to this photograph ;-·film," videotape,
   or digital iniage and specifically, disclaims liability to .anv· persori or entities for -~11
   da,iages i 1osses; cla:iii,s ;' or expenses (:including :attorney's fees) .ar.i sing froii1 the .. · .· ...
   furnishing or subsequent use, distribution or publicatiqri· of th.is in1age/video . .Any use             of
   this image/vid~o ,liY.any party not e~iployed i:lirect1y by KeyBank is undertaken at the risk
   of arid is_· 1:he so.le responsibility of the user.




Page 9 - Affidavit of David Hockin                                  USAO Version Rev. November 2018
          Case 3:18-mc-01037             Document 1         Filed 11/27/18         Page 16 of 21




11/13/2018 14:19:59.61
6 TELLER 5         .
-surveillance
OR009-TIGARD
This photographic irnge is generated for the interna.1 use of KeyEiank. KeyEiank 1'akes no
representation or warranty of any kind with respect to this photograph, fi in-,, videotape;
or di gi ta-, i 1·ag-e and sp-ecifi ca-; 1y disc-, ai 1's -ti abi -, i ty to .any per sen or' -entities for a11
da1·ages, Tosses, c1 ai i·s; or expenses (i nc1 udi ng attorney's fees) ar.i sing fro1· the
furnishing or subsequent use, di stri buti on or pub, i cation of this i 1·,ag-2/vi deo. Any use of
this i n·.age/vi dee by any .party· not e1:pi eyed di rect'iy by Keyfiank is undertaken at the risk
of and is the so~e responsibi1ity of the user.




Page 10 - Affidavit of David Hockin                                USAO Version Rev. November 2018
         Case 3:18-mc-01037            Document 1        Filed 11/27/18       Page 17 of 21




"11/13/2018 "14:19~57.94
6 iELLER ~. .         .
surveillance
OR009-TIGARD
 This photographic hag-e is g-en-i:rat-ed for th-e int-erna1 us-e of K-eyElank. K-eyElank 1·.ak-es n
 r-epr-es-entati on or warranty of any ki ncl with r-esp-ect to this photograph, fi; a·., vi d-eotap •,
·or cligita"1 h.g.g-e and specificai-,y disdai1·s -tiabnity to any p-erson or s:ntities for a1
 dar.ag;;s, 1 o_sses, c1 ai ~·,s; or exp-en_s-es (ind udi ng ·attorney's fs:es) ar.i sing fro1:- th-e.  .
 furnishing or subseq1,1ent use, distributi,on or pub"ii<;ation of this frags:/video. Anv uss: of
 this in-.age/vid-26 by any party not .e1·.p1oy-ed dir-ecfly b) KeyElank is undertak-en at-the risk
·of and is the io1;; r-es~onsibility of the user.


Above: Images from 111318 Key Bank robbery.




Page 11 - Affidavit of David Hockin                            USAO Version Rev. November 2018
        Case 3:18-mc-01037       Document 1     Filed 11/27/18   Page 18 of 21




                                      Attachment B:




                     --                ·-
Above: DMV Photo of STEVEN COLE dated 060117.




Page 12 ~ Affidavit of David Hockin                   USAO Version Rev. November 2018
       Case 3:18-mc-01037      Document 1     Filed 11/27/18   Page 19 of 21




                                   Attachment C:




             Photo of Eliot logoed hat sent from Eliot Management Group


Page 13-Affidavit ofDavidcHockin                   USAO Version Rev. November 2018
        Case 3:18-mc-01037                        Document 1    Filed 11/27/18   Page 20 of 21




                                                   ATTACHMENT A

                                                  Vehicle to Be Searched

      The vehicle to be searched is a 1998 Ford Country Squire, bearing Oregon License Plate

YEC242, VIN: 2FABP79F7JX216103. The actual vehicle is depicted below:




                    .    ,,-,..                    .




                                  ~-l~-~
                                      .., - _ .

               -   . -
            Case 3:18-mc-01037       Document 1        Filed 11/27/18     Page 21 of 21




                                       ATTACHMENT B

                                        Items to Be Seized

       The items to be searched for, seized, and examined, are those items on the premises

located at 13749 SW Electric St., Beaverton, Washington County, Oregon 97005, referenced in

Attachment A, that are evidence, contraband, °fruits, and instrumentalities of violations of 18

U.S.C. § 21 B(a), Unarmed Bank Robbery.

       1.       The items referenced above to be searched for, seized, and examined are as

follows:

       a.       Two pairs of dark colored gloves;

       b.       Two tom pieces of a key deposit envelope;

       c.       Registration, proof of insurance or other documents evidencing possession,

                ownership or control of the vehicle.




Page 1 - Attachment B                                             USAO Version Rev. June2017
